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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

US DOMINION, INC., et al.,

             Plaintiffs/Counter-Defendants,

      v.
                                              Civil Action No. 1:21-cv-00040 (CJN)
SIDNEY POWELL, et al.,

             Defendants/Counter-Plaintiffs.




US DOMINION, INC., et al.,
             Plaintiffs,

      v.
                                              Civil Action No. 1:21-cv-00213 (CJN)
RUDOLPH W. GIULIANI,
            Defendant.




US DOMINION, INC., et al.,
           Plaintiffs/Counter-Defendants,
      v.

MY PILLOW, INC., et al.,                      Civil Action No. 1:21-cv-00445 (CJN)
           Defendants/ Counter- and Third-
           Party Plaintiffs,
      v.

SMARTMATIC USA CORP., et al.,
           Third-Party Defendants.
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 US DOMINION, INC., et al.,
           Plaintiffs,

        v.

 PATRICK BYRNE,                                     Civil Action No. 1:21-cv-02131 (CJN)

               Defendant.



 US DOMINION, INC., et al.,
              Plaintiffs/Counter-Defendants,

        v.
                                                    Civil Action No. 1:21-cv-02130 (CJN)
 HERRING NETWORKS, INC. et al.,
              Defendants/ Counter- and
              Third-Party Plaintiffs,
       v.

 AT&T SERVICES, et al.,
           Third-Party Defendants.




                                JOINT STATUS REPORT

       Pursuant to Magistrate Judge Moxila A. Upadhyaya’s March 6, 2024 Minute Order (the

“March 6 Order”), Plaintiffs U.S. Dominion, Inc., Dominion Voting Systems, Inc., and Dominion

Voting Systems Corporation (“Plaintiffs”) and Defendants Sidney Powell, Sidney Powell, P.C.,

Defending the Republic, My Pillow, Inc., Michael J. Lindell, Patrick Byrne, Herring Networks,

Inc. d/b/a One America News Network, Charles Herring, Robert Herring, Sr., Chanel Rion, and




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Christina Bobb (“Defendants”) (herein collectively “the Parties”), hereby submit this Joint Status

Report. 1 Mr. Giuliani is not participating in the submission of this report.

          Following the March 6 Order, the Parties met and conferred by email and by Zoom, and

they submit in this Joint Status Report (1) the current list of cases that are consolidated or

voluntarily coordinated for discovery and (2) a chart detailing all ripe disputes in these cases using

the guidance the Court emailed to counsel for the Parties. The chart is submitted herewith as

Exhibit A.

1.        The Current List of Consolidated or Voluntarily Coordinated Cases

          Below is the current list of cases that are consolidated by Judge Nichols or voluntarily

coordinated for discovery in this litigation, including the date on which consolidation occurred,

where relevant. If a case was previously consolidated or voluntarily coordinated but is now stayed

or dismissed, the list includes that information, as well.

•     U.S. Dominion, Inc. et al. v. Sidney Powell et al., 1:21-cv-00040 (D.D.C.)

          o Consolidation: Scheduling Order, Powell ECF 65, March 1, 2022

•     U.S. Dominion, Inc. et al. v. My Pillow, Inc. et al., 1:21-cv-00445 (D.D.C.)

          o Consolidation: Scheduling Order, Lindell ECF 121, March 1, 2022

•     U.S. Dominion, Inc. et al. v. Rudolph W. Giuliani, 1:21-cv-00213 (D.D.C.)

          o Consolidation: Scheduling Order, Giuliani ECF 47, March 1, 2022

          o Stay: In re Rudolph W. Giuliani, 1:23-12055 (Bankr. S.D.N.Y)

                     Chapter 11 Voluntary Petition for Individual, ECF 1, December 21, 2023




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     Per the Court’s instruction, the Parties submit this Joint Status Report on the docket of each
    case that is consolidated or voluntarily coordinated for discovery related to this litigation.


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                       •   Under 11 U.S.C. § 362(a), the Voluntary Petition stayed the continued

                           prosecution of Dominion’s litigation against Mr. Giuliani, absent relief

                           from that stay.

                   Order Approving Stipulation Concerning the Scope of the Automatic Stay of

                    11 U.S.C. § 362(a) with Respect to Certain Non-Bankruptcy Litigation Matters,

                    ECF 125, February 2020, 2024, Exhibit B (Giuliani Bankruptcy ECF 125).

                       •   Under this order, the Bankruptcy Court clarified that the above-

                           mentioned stay does not (i) preclude prosecution of Dominion’s claims

                           against the defendants in the Powell case, the Lindell case, the Byrne

                           case, and the OAN case; (ii) preclude pursuit of discovery by parties in

                           those cases; or (iii) preclude discovery of Giuliani by any of the parties

                           in the Powell case, the Lindell case, the Byrne case, and the OAN case

                           in those cases.

•    U.S. Dominion, Inc. et al. v. Patrick Byrne, 1:21-cv-02131 (D.D.C.)

        o Coordination: Mr. Byrne is voluntarily coordinating for the purposes of discovery.

•    U.S. Dominion, Inc. et al. v. Herring Networks, Inc. d/b/a One America News Network, et al.,

     1:21-cv-02130 (D.D.C.)

        o Consolidation: Order Granting Motion to Consolidate and Entering Scheduling Order,

            ECF 134, July 24, 2023

2.      Disputes and Pending Motions Chart

        The following chart available at Exhibit A includes all ripe disputes raised with Judge

Nichols or Magistrate Judge Upadhyaya to date. At a high level the disputes are as follows:




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       The first item the parties bring to the Court’s attention is an urgent matter regarding breach

of the June 16, 2023, Amended Protective Order, attached hereto as Exhibit C, by counsel for

Mr. Byrne. See Byrne Dkt. 46; see also Powell Dkt. 82; Lindell Dkt. 165; Giuliani Dkt. 55.

Counsel for Dominion raised the issue to Judge Nichols and Judge Upadhyaya on March 12, 2024,

by the email attached hereto as Exhibit D.

       The second and third issues involve deposition and discovery motions before the Court.

The motions arise in the context of a September 21, 2023, telephonic hearing before Judge Nichols,

in which Plaintiffs and Defendants appeared and discussed the potential for coordinating orderly

management of discovery across the cases. See Exhibit E (9/21/2023 Transcript). Judge Nichols’

September 21, 2023, minute entry ordered the parties to meet and confer concerning a proposed

discovery protocol and a proposed deposition protocol, with the goal of reaching an agreed

proposed order or submitting any outstanding issues for judicial resolution. See Lindell Minute

Entry 8/21/2023. With respect to both protocols, the parties resolved most but not all issues and

submitted competing proposed orders with briefing.

       The fourth discovery item before the Court is Defendants’ request to extend the discovery

deadline in all coordinated and consolidated cases.

       The fifth discovery item before the Court pertains to issues specific to the Dominion v.

Herring Networks case.

       Various other discovery disputes exist between Dominion and specific defendants in the

consolidated or voluntarily coordinated cases. For some of those disputes, the meet and confer

process is complete, and the parties will follow Judge Upadhyaya’s guidance as to the proper

procedure for raising them. Other disputes remain in the meet and confer process and will be

raised with the Court, as necessary, once the ongoing processes are complete.



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       The Parties propose that on March 18, 2024, Judge Upadhyaya take up each of the issues

in the order that they appear in the attached chart. See Exhibit A.



Dated: March 13, 2024                              Respectfully submitted,

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*Permission to sign for other Defendants was not expressly given by the time of filing.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of March 2024, I caused to be electronically filed the

foregoing document with the Clerk of the Court using the CM/ECF system in U.S. Dominion, Inc.

et al. v. Sidney Powell et al., 1:21-cv-00040 (D.D.C.), U.S. Dominion, Inc. et al. v. My Pillow, Inc.

et al., 1:21-cv-00445 (D.D.C.), U.S. Dominion, Inc. et al. v. Rudolph W. Giuliani, 1:21-cv-00213

(D.D.C.), U.S. Dominion, Inc. et al. v. Patrick Byrne, 1:21-cv-02131 (D.D.C.), U.S. Dominion,

Inc. et al. v. Herring Networks, Inc. d/b/a One America News Network, et al., 1:21-cv-02130

(D.D.C.), which I understand to have served counsel for the parties.


                                                              /s/ Davida Brook
                                                              Davida Brook, Esq.
                                                              SUSMAN GODFREY LLP
